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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA



    JONATHAN BERTUCCELLI and                                            CIVIL ACTION
    STUDIO 3, INC
    VERSUS                                                              NO: 19-1304
    UNIVERSAL CITY STUDIOS LLC, ET                                      SECTION: T (2)
    AL.
                                               ORDER

        Before the Court is a Motion Requesting Judicial Notice1 filed by Universal City Studios

LLC, Universal City Studios Productions LLLP, Blumhouse Productions, LLC, Tree Falls In The

Woods, L.L.C., Anthony “Tony” Robert Gardner, The Alterian Ghost Factory, Inc., Trick or Treat

Studios, and Foe Paw Films, LLC (“Defendants”). Jonathan Bertuccelli and Studio 3, Inc.

(“Plaintiffs”) have filed an opposition.2 For the following reasons, the Motion Requesting Judicial

Notice3 is DENIED.

        Federal Rule of Evidence 201(b) provides that the court may judicially notice a fact that is

not subject to reasonable dispute because it: (1) is generally known within the trial court's territorial

jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot

reasonably be questioned. Defendants request that the Court take judicial notice of several alleged

facts regarding relating to works depicting babies. First, Defendants request the Court take judicial

notice that “[b]abies have been referenced and depicted as mascots in many instances unrelated to

Plaintiffs’ “King Cake Baby” (“KCB”), including examples that predate KCB.”4 Then, Defendants

request the Court take judicial notice that numerous expressive works depict babies as follows: (1)

in an offbeat or frightening manner; (2) with blue eyes; (3) with high arched eyes; (4) with blushed

and/or chubby cheeks; (5) with open mouths showing teeth or a tooth; and (6) with fat or double


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  R. Doc. 100.
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  R. Doc. 109.
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chins.

           Plaintiffs object to the Court’s recognition of any of the itemized facts reasoning that the

statement of facts is argumentative and based on inadmissible hearsay and unauthenticated

documents which do not pass the test for admissibility under Federal Rules of Evidence 802, 803,

or 902, and the Plaintiffs dispute the truth and accuracy of the facts. The Court will consider all

competent summary judgment evidence submitted with Defendants motion for summary

judgment. However, the Court finds that Defendants failed to establish that the facts alleged are

not subject to reasonable dispute under Federal Rule of Evidence 201(b) warranting judicial notice

be taken.

           ACCORDINGLY, IT IS ORDERED that the Motion Requesting Judicial Notice5 is

DENIED.

           New Orleans, Louisiana, this 25th day of September, 2020.




                                                          GREG GERARD GUIDRY
                                                        UNITED STATES DISTRICT JUDGE




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    R. Doc. 100.
